
267 U.S. 219 (1925)
PENNSYLVANIA SYSTEM BOARD OF ADJUSTMENT OF THE BROTHERHOOD OF RAILWAY AND STEAMSHIP CLERKS ETC.
v.
PENNSYLVANIA RAILROAD COMPANY ET AL.
No. 629.
Supreme Court of United States.
Argued January 13, 1925.
Decided March 2, 1925.
APPEAL FROM THE CIRCUIT COURT OF APPEALS FOR THE THIRD CIRCUIT.
Mr. Henry T. Hunt for appellant.
Mr. John Hampton Barnes for appellees.
MR. CHIEF JUSTICE TAFT delivered the opinion of the Court.
This case turns on substantially the same questions as those just decided in Pennsylvania Federation No. 90 against the same defendant, ante, p. 203. It is a bill in equity by a trade union called The Pennsylvania System Board of Adjustment of the Brotherhood of Railway and Steamship Clerks, Freight Handlers, Express and Station Employees, made up of several classus of employees, clerical and otherwise, of the Pennsylvania Railroad, seeking to enjoin the Company from maintaining the same kind of alleged conspiracy as that described and complained of by Federation No. 90 in the previous case. There is no prayer in the bill in this case for damages as there was in the other, but the circumstances and the law sought to be applied to them are in every respect similar. As in the previous case, elaborate briefs were filed to justify the contention that Title III of the Transportation Act vested the employees of the Pennsylvania Road with definite rights, the violation of which constituted a *220 legal wrong and that on these a charge of conspiracy could be predicated, and a remedy by injunction might be had in behalf of the complainants. For the same reasons as those stated in the previous case, the same conclusion must be reached. The Circuit Court of Appeals and the District Court were therefore right in dismissing the bill. The decree is
Affirmed.
